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ATTORNEY/CLIENT CONTRACT

RECIFALS: a? Le _ - on behalf of the

undersigned Client (“Client”), employs the Andry Law Group LLC. (“Andry Law Group”) for the
purpose of making a claim on my behalf with the Gulf Coast Claims Facility and/or BP or any other
related Fund for all damages sustained by me that vesulted, or may result in the future from the Deepwater -
Horizon Drilling Rig explosion and subsequent oil release on or about April 20, 2010. Client also
empowers Andy Law Group to file all necessary forms and documents in the Transocean Limitation
Proceeding to preserve my claim(s) and any other rights. Client empowers the Andry Law Group to
sue, to compromise, to receive any and all payments, to receipt for any and all money, and to do anything
generally which may be necessary in the prosecution of the above claim as full as though I were present.

ATTORNEY FEES: Jn consideration of the services to, be rendered by Andry Law Group in
connection said cause, Client, agrees to pay said attorney a fee of twenty (20%) percent of the amount
collected. This feo will apply to any and all interim payments aud/or final awards and/or settlements from
the Gulf Coast Claims Facility and/or BP or any Funds as defined herein. The fee will be calculated
before all court costs and/or other expenses, including but not limited to, all bills, photocopying expenses,
expert fees, and investigation costs are deducted. Expenses will be deducted after calculation of the
contingency fee, pursuant to Rule 1.5 (C) of the Rules of Professional Conduct, Client is responsible for
all such costs and expenses. However, all such costs and expenses related to these claims, such as court
costs and/or other expenses, including but not limited to, all bills, photocopying expenses, expert fees,
investigation costs, and any other costs responsible by client shall not exceed seven and half (7.5%)
percent of the final award and/or settlements. The seven and half (7.5%) shall include all and any costs
related to these claims. oo ,

.. dis further understood and agreed that if Client is unable to reach an agreement or settlement
with the Gulf Coast Claims Facility and/or BP, it will be necessary to file a claim in MDI 2179 to protect
Client's rights. If Andry Law Group files a claim in MDL 2179 that is settled without litigation, Client
agrees to pay attorney fee of twenty (20%) percent of the amount collected. If it becomes necessary for
Audry Law Group to litigate claim, Client agrees to pay attorney fee of thirty-three (33%) percent of the
amount collected. The attorney fees referenced in this paragraph will be calculated before all court costs
and/or ofher expenses, including but not limited all bills, photocopying expenses, expert fees, and
. investigation. costs are deducted. Expenses will be deducted after calculation of the contingency fee,
pursuant to Rule 1.5 (C) of the Rules of Professional Conduct.

STRUCTURED SETTLEMENT: Jn the event of a structured settlement, then it is agreed that the
attorney’s fees will be based on a percentage of the value of the case at the time-of the settlement, in the -
same manner as reflected above,

SETTLEMENT AND COMPROMISE OF CLAIM(S) AND/OR SUIT(S): It is hereby understood
anc agreed that neither Client nor my/our attorney may settle, compromise, dispose of, or in any way
discontinue my/our claim end/or suit without the permission of the other.

COSTS AND EXPENSES: It is further understood and agreed that the attorneys shall have the right to
finance the costs in this matter and that the interest thereon shall be an expense of the litigation. The
interest rate will be commensurate with that charged by the respective lending institution. If the attorneys
are terminated by the Client without just cause, then the Client shall reimburse the attorneys immediately
for ail out-of-pocket expenses. In such a case, the attorneys shall, in addition, have the right to the full
amount of this contract for services rendered.

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INTERVENTION: It is further understood and agreed that if it becomes necessary for the attorney to
file a claim in the court of any kind in ordet to obtain immediate reimbursement of costs and/or
reasonable attormey’s fees, then the attorney shall be entitled to a reasonable attomey’s fee and all costs of
that claim, including the cost of filing an intervention.

DILIGENT PURSUIT OF SPILI-RELATED CLAIM: My attorneys agree that they will completely
and diligently evaluate and institute a claim on client’s behalf with the Gulf Coast Claims Facility and/or
BP or any other related Fund set up to handle the Deepwater Horizon Oil Spill and if applicable,

prosecute said suit to final determination in the appropriate Louisiana District Court or United States
' District Court, and make all reasonable and necessary efforts to collect any judgment that may be
rendered herein in my favor; in the:event of a judgment unfavorable to me in the said district court, they
will, if in their opinion reasonable grounds therefore exist, appeal said cause to the appropriate Court of
Appeals and prosecute same to afinal determination therein.

EMPLOYMENT OF ADDITIONAL ATTORNEYS: It is further understood and agreed that Andry
Law Group has Client’s consent to employ the services of other attorneys as may be necessary. These
atiormeys, to the extent they are employed, will be compensated out of the Andry Law Group’s attomey
Tee described here in. When and if such attorneys are employed, an addendum to this contract will be
pr ovided which depicts and outlines their respective compensation.

SCOPE OF REPRESENTATION: The Andry Law Gronp does not represent any individual, agent,
representative or employee of Client in a personal capacity; to the extent any individual, agent,
representative or employee of Client desires Andry Law Group’s representation to file a personal action
or claim against any BP, or any other liable party, the parties must sign an additional Agreement, and
representation will only commence thereafter.

ADDITIONAL PROVISIONS: Additionally, J, the undersigned, d ‘do hereby appoint Jonathan Andry
as Lay attomey in fact, and grant to him the power of attorney so that in all ways and tatters he may sign
“my name to any and-all pleadings and other documents of any ‘kind in this matter; including all
settlements and releases, drafts and checks relative thereto upon my verbal authorization. Client has been
advised and understands that this agreement is in accordance with the Rules of Professional Conduct,
specifically 1.4 and 1.8e.

This the Id day of ho: | 201 R_-

"Month
So itis AGREED,
(ig ey. Pore
Client Name

—*Signature - Jonathan B. Andry, Attorney

